       Case 3:22-cv-00211-SDD-SDJ            Document 266-3        08/29/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                      Plaintiffs,                  Civil Action No. 3:22-cv-00211-SDD-SDJ

                 v.                                Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as           Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                      Defendant.

EDWARD GALMON, SR., et al.,

                      Plaintiffs,                  Consolidated with
                                                   Civil Action No. 3:22-cv-00214-SDD-SDJ
                 v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                      Defendant.

                                     [PROPOSED] ORDER


          Upon consideration of the Legislative Intervenors’ ex parte motion for the pro hac vice

admission of Robert J. Tucker, and considering the grounds presented, it is hereby

          ORDERED that the motion is GRANTED; and further

          ORDERED that Robert J. Tucker shall be admitted pro hac vice in the above-captioned

matter.

          SO ORDERED.


 This ____ day of August, 2023.
                                                  United States District Judge
